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Case: 21-2482

UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

CONCISE SUMMARY OF THE CASE

Pursuant to 3“ Cir. LAR 33.3, counsel are required to file a concise summary of
the case within 14 days of the date of docketing of the Notice of Appeal. Total statement is limited to
no more than 2 pages, single-spaced. Counsel may utilize this form or attach a 2 page statement
encompassing the information required by this form.

sh onon. Przywieczerski v. Secretary of DHS, et al

USCA NO.; 21-2482

LOWER COURT or AGENCY and DOCKET NUMBER:
20-civ-02098

NAME OF
JUDGE: Kevin McNulty

Specify who is suing whom, for what, and the subject of this action. Identify (1) the nature of the
action; (2) the parties to this appeal; (3) the amount in controversy or other relief involved; and (4) the
judgment or other action in the lower court or agency from which this action is taken:

The plaintiff appellate brought suit against the government defendants, Secretary of DHS, DHS,
Secretary of State, Department of State, Director of USCIS and USCIS for declaratory and injunctive
relief preserving his status as a lawful permanent resident despite his more than year absence from
the United States because that absence was due solely to the government's extradition proceedings
against him. The District Court dismissed the case on the asserted grounds of the issues not being
ripe for decision.

LIST and ATTACH a copy of each order, judgment, decision or opinion which is involved in this
appeal. If the order(s) or opinion(s) being appealed adopt, affirm, or otherwise refer to the report and
recommendation of a magistrate judge or the decision of a bankruptcy judge, the report and
recommendation or decision shall also be attached.

The decision by the District Court is attached.

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Provide a short statement of the factual and procedural background, which you consider important to
this appeal:

The plaintiff appellant is lawful permanent resident and his absence from the United States for over a
year has been caused solely by the extradition proceedings against him.

Identify the issues to be raised on appeal:

Whether this case was sufficiently ripe for decision and whether the more than one year rule on loss
of permanent residence applies when the government itself has caused the absence.

This is to certify that this Concise Summary of the Case was electronically filed with the Clerk of the
U.S. Court of Appeals for the Third Circuit and a copy hereof served to each party or their counsel of
record

Septemb
this sth day of epremper 20 21 .

/s/Thomas E Moseley

Signature of Counsel

Rev. 07/2015

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

DARIUSZ PRZYWIECZERSK,
Plaintiff,
Vv.

ANTHONY BLINKEN, Secretary of
State; UNITED STATES

DEPARTMENT OF STATE; Civ. No. 20-02098 (KM) (JBC)
ALEJANDRO MAYORKAS, Secretary
of Homeland Security; UNITED OPINION

STATES DEPARTMENT OF
HOMELAND SECURITY; TRACY
RENAUD, Acting Director of United
States Citizenship & Immigration
Services; and UNITED STATES
CITIZENSHIP & IMMIGRATION
SERVICES,

Defendants.

KEVIN MCNULTY, U.S.D.J.:
Dariusz Przywieczersk is a Polish citizen and lawful permanent resident

(“LPR”) of the United States. He was extradited to Poland, where he is or was

serving a prison sentence. As a result, he fears that his LPR status is no longer
valid, so he seeks declaratory and injunctive relief against federal agencies and
their heads (the “Government”) to preserve his LPR status and permit his
eventual reentry. The Government moved to dismiss for lack of jurisdiction and
failure to state a claim, see Fed. R. Civ. P. 12(b)(1), (6). (DE 13.) Mr.
Przywieczersk opposed and moved to amend his First Complaint. (DE 27.}! For

4 Certain citations to the record are abbreviated as follows:
DE = docket entry
lst Compl. = First Complaint (DE 1)
2d Compl. = Amended Complaint (DE 27)
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the following reasons, I will treat the motion to amend (DE 27) as a motion to
supplement the original complaint, and that motion is GRANTED. Despite the
supplemental allegations, the motion to dismiss (DE 13) is GRANTED.

I. BACKGROUND

Mr. Przywieczerski is a Polish citizen who has been an LPR of the United
States since 2001. (lst Compl. 7 2.) In September 2018, he was extradited to
Poland. (fd. J 7.) His term of imprisonment in Poland was then set to end on
April 28, 2021, and his “alien registration card” (which the pleading does not
more precisely define) expired on May 12, 2021. (Id. q 8.)

He filed the First Complaint in February 2020 seeking, via the
Administrative Procedure Act (“APA”), 5 U.S.C. § 706, (1) a declaratory
judgment that he remains an LPR, and (2) an injunction ordering the
Government to provide him appropriate documentation to permit his return to
the United States. (Jd. [J 11-12.)2 The Government moved to dismiss, arguing
that the First Complaint was too threadbare and that any claims were not ripe.
(Mot. to Dismiss.) In its motion, the Government explained the legal procedures
that Mr. Przywieczerski could invoke for reentry under 8 C.F.R. § 211.1
(discussed further, infra). (Id. at 6-7.)

Mot. to Dismiss = Government’s Brief in Support of its Motion to Dismiss (DE
13-1)

Opp. = Mr. Przywieczerski’s Brief in Opposition to the Government’s Motion to
Dismiss (DE 28)

2 The First Complaint named as defendants (1) Mike Pompeo, Secretary of State;
(2) the Department of State; (3) Chad Wolf, Acting Secretary of Homeland Security;

(4) the Department of Homeland Security; (5) Mark Koumans, Director of the United
States Citizenship and Immigration Services (“USCIS”); and (6) USCIS. (1st Compl.

{{ 3-6.) As the Second Complaint clarifies, Anthony Blinken is now the Secretary of
State; Alejandro Mayorkas is now the Secretary of Homeland Security; and Tracy
Renaud is now the Acting Director of USCIS. (2d Compl. 7 3-5.) Pursuant to Fed. R.
Civ. P. 25(d), when a public official is a party to an action and subsequently leaves
office, that official’s successor may be substituted. The accompanying order will direct
the clerk of the court to amend the docket and caption accordingly.

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Mr. Przywieczerski opposed the motion and concurrently moved to
amend his First Complaint in May 2021. (DE 28, 27.) His Second Complaint
did four things: (1) updated the government defendants with the current
officeholders, (2) provided documents relating to his extradition process,

(3) alleged that, because of subsequent developments, his term of
imprisonment will not end in April but in October 2021, and (4) alleged that the
Government “take[s] the position” that he “lost” his LPR status based on its
interpretation of 8 C.F.R. § 211.1. (2d Compl. 9] 3-5, 9, 11, Exs. A-D.) The
Government opposed the motion to amend, arguing that the additional
allegations do not cure the deficiencies identified in the motion to dismiss. (DE
13-1.)

II. DISCUSSION

A. Motion to Amend

First, some housekeeping. Currently pending are a motion to dismiss
and a motion to amend. The Government asks that I grant the motion to
dismiss and then deny the motion to amend on grounds of futility. See
generally Travelers Indem. Co. v. Dammann & Co., 594 F.3d 238, 243 (3d Cir.
2010) (a district court may deny a motion to amend when the amended
complaint “would fail to state a claim upon which relief could be granted”
(citation omitted)).

Looking beyond the labels, I perceive that Mr. Przywieczerski has in
substance presented not a motion to amend but a motion to supplement his
already existing claims with recent factual developments. Federal Rule of Civil
Procedure 15(a) provides for amending pleadings and “enable[s] a party to
assert matters that were overlooked or were unknown” when the party filed the
first complaint. Garrett v. Wexford Health, 938 F.3d 69, 82 (3d Cir. 2019)
(citation omitted). Rule 15(d), by contrast, provides for supplementing
pleadings, id., and “[a] supplemental pleading adds post-complaint events to

the operative pleading and does not supersede it,” Korb v. Haystings, --- F.
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Such supplementation may allow a plaintiff to add newly arisen facts
that, e.g., cure jurisdictional defects. Id.; see also Garrett, 938 F.3d at 82. For
example, a plaintiff may assert post-complaint facts that show that his alleged
injury is no longer speculative, thus giving him standing or presenting the
court with a now-ripe controversy. U.S. ex rel. Gadbois v. PharMerica Corp., 809
F.3d 1, 5 (1st Cir. 2015); Crimson Galeria Ltd. P’ship v. Healthy Pharms, Inc.,
337 F. Supp. 3d 20, 34-35 (D. Mass. 2018); Newark Branch, NAACP v. Millburn
Township, Civ. No. 89-4219, 1990 WL 238747, at *6 (D.N.J. Dec. 27, 1990). In
such a case, the usual rule that courts assess jurisdiction at the time of initial
filing, see Gadbois, 809 F.3d at 5, gives way to a preference to decide cases on
full facts. The alternative, i.e., dismissing the complaint with the full knowledge
that the plaintiff will immediately seek to amend, may simply be inefficient and
wasteful. Id.; see T-Mobile Ne. LLC v. City of Wilmington, 913 F.3d 311, 329-30
(3d Cir. 2019) (discussing these reasons in the context of statutory ripeness,
i.e., when a statute determines when a plaintiff may file a claim).

The Second Complaint’s pertinent additional allegations relate to post-
complaint events: the modification of Mr. Przywieczerski’s prison term and an
incorporation of the Government’s arguments in its motion to dismiss.? As
such, I should treat his motion to amend as a motion to supplement. See
Garrett, 938 F.3d at 81 n.17 (the labeling of the motion as one to amend does
not determine the district court’s appropriate treatment of the motion as one to
supplement); Korb, 2021 WL 2328220, at *3 (holding that district court should
have treated filings providing supplemental allegations as a motion to

supplement).

3 While there is now additional documentation of the extradition process, it
relates to matters already alleged in the First Complaint. See Doe v. Univ. of Scis., 961
F.3d 203, 208 (3d Cir. 2020) (a court may consider “a document integral to or
explicitly relied upon in the complaint” as part of the pleadings (citation omitted)).

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A motion to supplement should be granted “[o]n motion and reasonable
notice” if the court finds “just terms.” Fed. R. Civ. P. 15(d). The Government
responded to the motion, albeit under the related motion-to-amend standard,
so there was notice and it suffers no prejudice from this recharacterization.
There are “just terms” because granting the motion will allow me to consider
whether the additional allegations cure jurisdictional defects. See Korb, 2021
WL 2328220, at *2n.5. Accordingly, the motion to amend is construed as a
motion to supplement and granted. I take up the motion to dismiss in light of
the allegations of the First Complaint, plus the supplemental allegations of the
Second Complaint. See id. (the supplemental pleading adds facts to the
operative pleading but does not supersede it).

B. Motion to Dismiss for Lack of Jurisdiction

The Government moves to dismiss on the ground that this case is not
ripe. (Mot. to Dismiss at 7—9.}*

“Article III of the Constitution limits the federal judiciary’s authority to
exercise its Sudicial Power’ to ‘Cases’ and ‘Controversies.” Plains All Am.
Pipeline L.P. v. Cook, 866 F.3d 534, 538-39 (3d Cir. 2017) (quoting U.S. Const.
art. III], § 2). One component of a case or controversy is that a real dispute has
sufficiently developed between two parties and is not premature; this is called
ripeness. Jd. at 539. To determine whether claims for declaratory and
injunctive relief are ripe, I consider, among other things, “the adversity of the

parties’ interests.” Id. at 539-40 (citation omitted).°

4 Under Rule 12(b)(1), a defendant may move to dismiss on the grounds that the
court lacks subject-matter jurisdiction over the dispute. Fed. R. Civ. P. 12(b)(1). A Rule
12(b)(1} motion is the vehicle for ripeness arguments. Kyle-Labell v. Selective Serv.
Sys., 364 F. Supp. 3d 394, 401 (D.N.J. 2019). A Rule 12(b)(1) attack can be facial
where the defendant “attacks the complaint on its face without contesting its alleged
facts.” Hartig Drug Co. v. Senju Pharms. Co., 836 F.3d 261, 268 (3d Cir. 2016). In such
a case, as here, the court only considers the allegations of the complaint and
documents referred to therein, taken in the light most favorable to the plaintiff. Gould
Elecs., Inc. v. United States, 220 F.3d 169, 176 (3d Cir. 2000).

5 Ripeness is closely related to the doctrine of standing. Trump v. New York, 141
S. Ct. 530, 535 (2020) (per curiam). Standing is also a component of a case or

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On the first prong, parties’ interests are adverse when there is a
“substantial threat of real harm” absent declaratory or injunctive relief. Id. at
5941 (citation omitted). But if the threatened harm is dependent on uncertain
contingencies, then the case is not ripe. Id. Relatedly, in cases where the harm
would be at the hands of an agency, the Third Circuit has considered “whether
the agency action is final; whether the issue presented for decision is one of law
which requires no additional factual development; and whether further
administrative action is needed to clarify the agency’s position.” Nextel
Comme’ns of Mid-Atl., Inc. v. City of Margate, 305 F.3d 188, 193 (3d Cir. 2002)
(citation omitted) (challenge to decisions of a zoning board); see also Felmeister
v. Off. of Att’y Ethics, 856 F.2d 529, 537-38 (3d Cir. 1988) (challenge to
advertising regulations where state agency reviewed advertisements for
compliance).®

Here, there has been no action or threatened action by the Government
that could harm Mr. Przywieczerski. He has not been denied entry. He cannot
even attempt to enter the United States for the next few months, as he will
remain imprisoned until October. Nor has the Government affirmatively
revoked his LPR status or stated that it will do so. There are no allegations that
he has interacted with the Government at all.

At most, he contends that the Government’s “position” in this litigation
represents its adjudication of his LPR status. (2d Compl. J 11; Opp. at 4, 6.)

But the Government’s explanation of the applicable statutory framework in a

controversy and requires the plaintiff to show an injury from the defendant’s conduct.
Steel Co. v. Citizens for a Better Env’t, 523 U.S, 83, 102-04 (1998). So the issue here
“can equally be described in terms of standing.” Plains, 866 F.3d at 539. Nonetheless,
the Third Circuit’s framework for determining ripeness incorporates the considerations
relevant to standing, so there is no need to do a separate standing analysis. Id. at 540.

6 These factors sound like the requirement in APA cases that a plaintiff challenge
a “final agency action.” I do not, however, address this case through the lens of that
requirement because it is not jurisdictional and “instead, goes to whether there isa
cause of action under the statute that provides for judicial review of a given agency
determination.” Wayne Land & Min. Grp. LLC v. Del. River Basin Comm'n, 894 F.3d
509, 525 n.10 (3d Cir. 2018).
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brief is not equivalent to a final adjudication of Mr. Przywieczerski’s legal
rights. See Bennett v. Spear, 520 U.S. 154, 177-78 (1997) (an agency action is
final if marks the “consummation” of the agency’s decision-making process and
is “one by which rights or obligations have been determined” (quotation marks
and citation omitted)); Minard Run Oil Co. v. U.S. Forest Serv., 670 F.3d 236,
249 (3d Cir. 2011) (a final agency action often “represents the agency’s
definitive position on the question,” “has the status of law,” and “has
immediate impact” on the party (citation omitted)); Querim v. EEOC, 111 F.
Supp. 2d 259, 269-70 (S.D.N.Y. 2000) (agency’s legal brief was not a final
agency action), affd, 9 F. App’x 35 (2d Cir. 2001). Put simply, the Government
has not done anything to create a case for Mr. Przywieczerski. Cf. Fang v. Dir.
U.S. Immigr. & Customs Enft, 935 F.3d 172, 186 (3d Cir. 2019) (case was ripe
when lawful status was terminated by agency order).

Rather, the plaintiff seems to predict that his LPR status is no longer
valid and seek preemptive judicial action. Along those lines, there is some
authority for the proposition that a case is ripe if the court can make a “firm
prediction” that the plaintiff will apply for a government benefit and be denied
that benefit due to an allegedly unlawful position.’ Immigr. Assist. Project of
L.A, Cnty. Fed’n of Labor (ALF-CIO) v. INS, 306 F.3d 842, 863 (9th Cir. 2002)
(citing Reno v. Catholic Soc. Servs., Inc., 509 U.S. 43, 69 (1993) (O’Connor, J.,
concurring)); see Plains, 866 F.3d at 541 (“[W]here threatened action by
government is concerned, we do not require a plaintiff to expose himself to
liability before bringing suit... .” (citation omitted)); Sammon v. N.J. Bd. of
Med. Exam’rs, 66 F.3d 639, 643 (3d Cir. 1995) (“Litigants are not required to
make such futile gestures to establish ripeness.”). Even so, I cannot say that
adverse action from the Government is “imminent” or certain. Plains, 866 F.3d

at 541 (citation omitted).

7 I set aside the final agency action problems which this proposition would create
in this case. (See n.6, supra.)
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The applicable immigration laws explain why. Ordinarily, LPRs can go
abroad and return without going through the admissions process required of
nonresidents. 8 U.S.C. § 1101(a)(13)(A), (C). But if the LPR “has been absent
from the United States for a continuous period in excess of 180 days,” he®
must seek admission. Id. § 1101(a)(13)(C)(ii). LPRs who have been abroad for
an extended period, like Mr. Przywieczerski, “will generally need a] valid,
unexpired immigrant visa’ to reenter the United States.” Doe v. Pompeo, 451 F.
Supp. 3d 100, 105 (D.D.C. 2020) (quoting 8 C.F.R. § 211.1(a)(1)). The visa for
this situation is “the SB-1 returning resident visa.” Jd. (citing U.S. Dep’t of
State, Returning Resident Visas, https: / /travel.state.gov/content/travel/en/us-
visas /immigrate/returning-resident.html]). For that visa, one applies to the U.S.
consular office in the foreign country he is in. The reviewing consular officer
must be “satisfied” that (1) the applicant had LPR status when he left the U.S.,
(2) he left “with the intention of returning and has not abandoned this
intention,” and (3) the visit abroad was “temporary” and, if “protracted,” “was
caused by reasons beyond [his] control and for which [he] was not responsible.”
22 C.F.R. § 42.22(a). Determining an alien’s intent and whether the visit was
temporary is a fact-based inquiry. Alaka v. Att’y Gen. of U.S., 456 F.3d 88, 103
(3d Cir. 2006), as amended (Aug. 23, 2006), overruled on other grounds by
Bastardo-Vale v. Att’y Gen. U.S., 934 F.3d 255 (3d Cir. 2019) (en banc).

That Mr. Przywieczerski will be denied a visa and admission, then, is by
no means assured. The decision is discretionary. Moreover, Mr. Przywieczerski
has not alleged any facts indicating that he categorically fails any of the three
requirements or that they are unlawful. In fact, the visa application process will
consider his main contention in this case: He has been outside the United
States for a problematic period of time through, in his view, no fault of his own.
(2d Compl. § 10.) All said, there is a process for the relief Mr. Przywieczerski
seeks, and it is not the Court’s role to jump ahead of that process. See Trump v.

New York, 141 S. Ct. 530, 536 (2020) (per curiam). (“Letting the Executive

8 The plaintiff happens to be male, so I use the masculine pronoun for simplicity.
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Branch’s decisionmaking process run its course not only brings more
manageable proportions to the scope of the parties’ dispute, but also ensures
that we act as judges, and do not engage in policymaking ... .” (quotation
marks and citations omitted}). To top this all off, contingencies would still
abound even if Mr. Przywieczerski showed a right to an SB-1 visa. Such a visa
holder “might still be inadmissible—and so subject to removal proceedings—for
any number of reasons.” Doe, 451 F. Supp. 3d at 106 (citing 8 U.S.C.

§§ 1182(a), 1229a(a)). Thus, I can hardly make any prediction about the
parties’ legal positions vis-a-vis one another, so this case does not present the
settled adversity of interests necessary for a ripe case.

I understand that Mr. Przywieczerski may have brought this action
because he thinks he will have no recourse from an adverse decision by a
consular official. (See 2d Compl. 7 11.) That is, the doctrine of “[c]jonsular
nonreviewability shields a consular official’s decision to issue or withhold a visa
from judicial review.” Baan Rao Thai Rest. v. Pompeo, 985 F.3d 1020, 1024
(D.C. Cir. 2021); see also Onuchukwu v. Clinton, 408 F. App’x 558, 560 (3d Cir.
2010) (per curiam) (recognizing doctrine); Cortes v. Sec’y, Dep’t of Homeland
Sec., No. 6:08-cv-1688, 2009 WL 10670142, at *1 (M.D. Fla. Mar. 23, 2009)
(doctrine barred review of denial of SB-1 visa). But being subject to the
prescribed procedures is not a legal “injury,” and the fear that later judicial
avenues may be closed to him cannot excuse the constitutional requirement
that he presently face an injury.

III. CONCLUSION

For the reasons set forth above, the motion to amend the First Complaint
will be treated as a motion to supplement and granted. The motion to dismiss
these combined pleadings will be granted. A separate order will issue.

Dated: June 9, 2021
/s/ Kevin McNulty

Hon. Kevin McNulty
United States District Judge
